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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES -- GENERAL

Case No.      CV 21-1709-JFW(JCx)                                               Date: April 22, 2021

Title:        Anahit Khayoyan, et al. -v- Travelers Commercial Insurance Company, et al.

PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                                None Present
              Courtroom Deputy                              Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                   ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                None

PROCEEDINGS (IN CHAMBERS):               ORDER TAKING UNDER SUBMISSION PLAINTIFFS’
                                         MOTION TO REMAND THE ACTION TO STATE COURT
                                         PURSUANT TO 28 U.S.C. §§ 1446, 1447(c) [filed
                                         3/26/21; Docket No. 23]

       Plaintiffs’ Motion to Remand the Action to State Court Pursuant to 28 U.S.C. §§ 1446,
1447(c) is currently on calendar for April 26, 2021, at 1:30 p.m. Pursuant to Rule 78 of the Federal
Rules of Civil Procedure and Local Rule 7-15, the Court finds that this matter is appropriate for
decision without oral argument. The hearing calendared for April 26, 2021 is hereby vacated and
the matter is taken off calendar. The matter will be deemed submitted on the vacated hearing date
and the clerk will notify the parties when the Court has reached a decision.

         IT IS SO ORDERED.




                                                                               Initials of Deputy Clerk sr
